        Case 20-62473-pmb                    Doc 3 Filed 02/10/20 Entered 02/10/20 10:30:05                                              Desc Ch 7
                                               First Mtg Corp No POC Page 1 of 2
Information to identify the case:
Debtor
                Ascension Air Management, Inc                                                  EIN 45−5104393
                Name


United States Bankruptcy Court Northern District of Georgia                                    Date case filed for chapter 7 2/10/20
Court website: www.ganb.uscourts.gov
Case number: 20−62473−pmb

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                           12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or
access charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You must
have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                      Ascension Air Management, Inc

2. All other names used in the
   last 8 years
3. Address                                 2447 Field Way NE
                                           Atlanta, GA 30319

4. Debtor's attorney                       Michael D. Robl                                                      Contact phone 404−373−5153
                                           Robl Law Group LLC
     Name and address                      Suite 250
                                           3754 LaVista Road                                                    Email: michael@roblgroup.com
                                           Tucker, GA 30084

5. Bankruptcy trustee                      S. Gregory Hays                                                      Contact phone (404) 926−0060
                                           Hays Financial Consulting, LLC
     Name and address                      Suite 555
                                           2964 Peachtree Road
                                           Atlanta, GA 30305

6. Bankruptcy clerk's office               M. Regina Thomas                                                Office Hours: 8:00 a.m. − 4:00 p.m.
                                           Clerk of Court
     Documents in this case may be
     filed at this address. You may         1340 United States Courthouse                                  Court website: www.ganb.uscourts.gov
     inspect all records filed in this case 75 Ted Turner Drive SW
     at this office or online at            Atlanta, GA 30303                                              Contact phone 404−215−1000
     www.pacer.gov.

7. Meeting of creditors                    March 17, 2020 at 10:00 AM                                      Location:
     The debtor's representative must
     attend the meeting to be              The meeting may be continued or adjourned to a later            Third Floor − Room 365, Russell Federal
     questioned under oath. Creditors      date. If so, the date will be on the court docket.              Building, 75 Ted Turner Drive SW, Atlanta,
     may attend, but are not required to                                                                   GA 30303
     do so. Cellular phones and other
     devices with cameras are not
     allowed in the building.

8. Proof of claim                          No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
     Please do not file a proof of         If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
     claim unless you receive a notice     that you may file a proof of claim and stating the deadline.
     to do so.

9.
       Case 20-62473-pmb                 Doc 3 Filed 02/10/20 Entered 02/10/20 10:30:05                                         Desc Ch 7
                                           First Mtg Corp No POC Page 2 of 2
    Creditors with a foreign          If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                           extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                      any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 1
